                                                                                        Motion GRANTED.
                                                                                        Hearing reset for
                                                                                        5/6/13 at 3:00 p.m.
                              UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
                                                   )
        v.                                         )              NO. 3:10-cr-163-25
                                                   )              JUDGE TRAUGER
                                                   )
[25] RODNEY BRITTON                                )

                        MOTION TO RESET REVOCATION HEARING

        COMES NOW the United States of America, by and through Assistant United States

Attorney Scarlett M. Singleton, and respectfully requests that the Court continue the supervised

release revocation hearing in this matter currently set for Thursday, April 11, 2013.

        In support of the motion, counsel for the government, who has been in contact with the

United States Probation Office, submits that the defendant’s state court hearing originally scheduled

for April 5, 2013, has been continued until May 3, 2013. The allegations against the defendant in

state court and before this Court are substantially the same.

        Counsel for the government respectfully requests a resetting of the hearing after the

defendant's May 3, 2013, state court hearing to a date and time convenient to the Court’s schedule.

                                                          Respectfully submitted,

                                                          DAVID RIVERA
                                                          Acting United States Attorney for the
                                                          Middle District of Tennessee

                                                          s/ Scarlett M. Singleton
                                                          SCARLETT M. SINGLETON
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